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     Attorney at Law
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     Sacramento, California 95818
 4   Telephone: (916) 456-3030
 5   Attorneys for Defendant
     DONG SONG
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                         IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                         Case No. S-08-00543 GEB
12
                   Plaintiff,                          STIPULATION AND (PROPOSED)
13                                                     ORDER CONTINUING STATUS
                                                       CONFERENCE
14    vs.
                                                       Date: 8-28-2009
15   DONG SONG, et al,                                 Time: 9:00 a.m.
                                                       Judge: Honorable Garland E. Burrell
16                 Defendants.
17                                                 /
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19
20                 IT IS HEREBY STIPULATED between the United States of America
21   through its undersigned counsel, Michael M. Beckwith, Assistant United States Attorney,
22   together with counsel for defendant Dong Song, Donald Masuda, Esq. and Kenny N.
23   Giffard, Esq., that the status conference presently set for August 28, 2009, be continued to
24   September 25, 2009, at 9:00 a.m., thus vacating the presently set status conference.
25   Counsel for the parties agree that this is an appropriate exclusion within the meaning of
26   Title 18, United States Code § 3161(h)(8)(iv) (continuity of counsel/reasonable time for
27   effective preparation, specifically the defense needs additional time to review discovery
28                                          1
     ______________________________________________________________________________
     STIPULATION AND (PROPOSED) ORDER CONTINUING STATUS CONFERENCE
      Case 2:08-cr-00543-KJM Document 132 Filed 09/01/09 Page 2 of 3


 1   and applicable case law concerning a proposed resolution by the People) and Local Code
 2   T4, and agree to exclude time from the date of filing of the order herein until the date of
 3   the next status conference set for September 25, 2009.
 4   IT IS SO STIPULATED:
 5   Dated: August 27, 2009                            LAWRENCE G. BROWN
                                                       Acting United States Attorney
 6
 7                                                     /s/ Michael M. Beckwith
                                                       _________________________________
 8                                                     MICHAEL M. BECKWITH
                                                       Assistant United States Attorney
 9
10
     Dated: August 27, 2009
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12                                                     /s/ Kenny N. Giffard
                                                       _________________________________
13                                                     KENNY N. GIFFARD
                                                       Attorney for Defendant
14                                                     Dong Song
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     STIPULATION AND (PROPOSED) ORDER CONTINUING STATUS CONFERENCE
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 1                                         PROPOSED ORDER
 2                  GOOD CAUSE THERE APPEARING, it is hereby ordered that the August
 3   28, 2009, status conference be continued to September 25, 2009, at 9:00 a.m. I find that
 4   the ends of justice warrant an exclusion of time and that the defendant’s needs for
 5   continuity of counsel and reasonable time for effective preparation exceeds the public
 6   interest in a trial within 70 days.
 7                  THEREFORE IT IS FURTHER ORDERED that time be excluded pursuant
 8   to 18 U.S.C. § 3161 (h)(8)(B)(iv) and Local Code T4 from the date of this order to
 9   September 25, 2009.
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11   IT IS SO ORDERED.
12   Dated: August 31, 2009
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14                                            GARLAND E. BURRELL, JR.
15                                            United States District Judge

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     STIPULATION AND (PROPOSED) ORDER CONTINUING STATUS CONFERENCE
